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 4
                                  UNITED STATES DISTRICT COURT
 5
                                        DISTRICT OF ARIZONA
 6
 7    United States of America
                                                              CR 18-00422-PHX-SRB
 8                   Plaintiff,
             v.                                                      ORDER
 9
      Andrew Padilla, et al.,
10
                     Defendant.
11
12       Upon the motion of the Defendant Andrew Padilla to waive his presence and to excuse his

13   attorney from appearing at the status conference set for June 24, 2019, at 11:00 a.m., for good

14   cause shown,

15          IT IS HEREBY ORDERED granting the Defendant’s motion (Doc. ) for the reasons

16   stated in the motion and waiving the presence of Defendant Padilla and excusing the appearance

17   of counsel for the Defendant at the status conference.

18          IT IS FURTHER ORDERED that no excludable delay under Title 18 U.S.C. § 3161

19   will occur as a result of this Order.

20          DATED

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22                                                 Susan M. Brnovich
                                               United States District Judge
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